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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re                                                 Chapter 11

24 HOUR FITNESS WORLDWIDE, INC., et al.,              Case No.: 20-11558 (KBO)

               Debtors.                               (Jointly Administered)


24 HOUR FITNESS WORLDWIDE, INC.,

               Plaintiff,

        v.

CONTINENTAL CASUALTY COMPANY;                         Adv. Proc. No. 20-51051 (KBO)
ENDURANCE AMERICAN SPECIALTY
INSURANCE COMPANY; STARR SURPLUS
LINES INSURANCE COMPANY; ALLIANZ
GLOBAL RISKS US INSURANCE COMPANY;
LIBERTY MUTUAL INSURANCE COMPANY;
BEAZLEY-LLOYD’S SYNDICATES 2623/623;
ALLIED WORLD NATIONAL ASSURANCE
COMPANY; QBE SPECIALTY INSURANCE
COMPANY; and GENERAL SECURITY
INDEMNITY COMPANY OF ARIZONA,

               Defendants.


                 MOTION AND ORDER FOR ADMISSION PRO HAC VICE

        Pursuant to Local Rule 9010-1 and the attached certification, counsel moves for the admission

pro hac vice of Brian Austin Westergom, Esq. to represent Allied World National Assurance

Company in this action.


Dated: May 27, 2022                         GELLERT SCALI BUSENKELL & BROWN, LLC

                                                     /s/ Michael Busenkell
                                                     Michael Busenkell (DE 3933)
                                                     1201 N. Orange Street, Suite 300
                                                     Wilmington, Delaware 19801
                                                     Telephone: (302) 425-5812
                                                     mbusenkell@gsbblaw.com
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           CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

        Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am
admitted, practicing and in good standing as a member of the Bar of the State of Texas and submit to
the disciplinary jurisdiction of this Court for any alleged misconduct which occurs in the preparation
or course of this action. I also certify that I am generally familiar with this Court’s Local Rules and
with Standing Order for District Court Fund revised 8/31/16. I further certify that the annual fee of
$25.00 has been paid to the Clerk of Court for District Court.


Dated: May 27, 2022                         MOUND COTTON WOLLAN & GREENGRASS LLP

                                                      /s/ Brian Austin Westergom_______________
                                                      Brian Austin Westergom
                                                      Three Greenway Plaza
                                                      Suite 1300
                                                      Houston, TX 77046
                                                      Telephone: (281) 572-8346
                                                      bwestergom@moundcotton.com



                                 ORDER GRANTING MOTION

IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is GRANTED.




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